        Case 2:20-cv-02644-MAK Document 69 Filed 05/18/21 Page 1 of 2




        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                        DCO-062
                                      No. 21-8014

            MARY K. BOLEY; KANDIE SUTTER; PHYLLIS JOHNSON,
       Individually and as representatives of a class of similarly situated persons,
        on behalf of the Universal Health Services, Inc. Retirement Savings Plan

                                            v.

           UNIVERSAL HEALTH SERVICES, INC.; UNIVERSAL INC.;
          THE UHS RETIREMENT PLANS INVESTMENT COMMITTEE,
              DOES NO. 1-10, Whose Names Are Currently Unknown


            Universal Health Services, Inc. and Universal Health Services, Inc.
                       Retirement Plans Investment Committee,
                                                 Petitioners

                              (E.D. Pa. No. 2-20-cv-02644)

Present: JORDAN, KRAUSE, and PHIPPS, Circuit Judges

      1. Petition for Leave to Appeal pursuant to Fed. R. Civ. P. 23(f) filed by
         Petitioners Universal Health Services Inc and Universal Health Services Inc
         Retirement Plans Investment Committee

      2. Respondents’ Answer in Opposition to Petition for Leave to Appeal

      3. Petitioners’ Motion for Leave to File Reply in Support of Petition, with
         proposed reply attached

      4. Response by Mary K. Boley, Phyllis Johnson and Kandie Sutter in Opposition
         to Motion for Leave to File Reply

                                                        Respectfully,
                                                        Clerk/CJG

_________________________________ORDER________________________________
      The foregoing motions for leave to appeal and for leave to file reply are granted.
        Case 2:20-cv-02644-MAK Document 69 Filed 05/18/21 Page 2 of 2




                                                By the Court,


                                                s/ Cheryl Ann Krause
                                                Circuit Judge

Dated: May 18, 2021
CJG/cc:     Alec Berin, Esq.
            James E. Miller, Esq.
            Deborah S. Davidson, Esq.
            James C. Shah, Esq.
            Michael E. Kenneally, Esq.
            Sean K. McMahan, Esq.
                                           A True Copy :
            Brian T. Ortelere, Esq.

                                                Patricia S. Dodszuweit, Clerk
